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UNTED STATES DISTRICT C()URT
DISTRICT OF NEW JERSEY

 

CAROL SPACK,
on behalf of herself and all others
similarly situated,

Plaintiffs, Civil Action No;

Civil Action
vs. ______
CLASS AND C()LLECIVE ACTION

TRANS WORLD ENTERTAINMENT COMPLAINT WITH JURY DEMAND

CORP.; RECORD T()WN, INC.;
RECORD TOWN USA, LLC.

Defendants.

 

 

Plaintiff Carol Spacl<, individually and on behalf of all others similarly situated, complaint
against the Defendants Trans World Entertainment Corp., Record Town, Inc. and Record Towns

USA, LLC as folloWSI

NATURE ()F THE ACTION
l. This is a class and collective action brought by Plaintiff Carol Spack (“Plaintiff’ or
“Spack”) against Defendants Trans World Entertainment Corp., Record Town, Inc. and Record
ToWns USA, LLC (collectively referred to herein as “the TWEC Defendants”) on behalf of herself
and all similarly situated current and former employees of the TWEC Defendants to recover for
the Defendants’ Willful violation of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, er
seq. The New Jersey Wage and Hour Law M., 34111-56.1 to ~56.12 (“NJWHL”) and

Pennsylvania’s Minimum Wage Act 35 P.S_ § 333.10] et seq. (“PMWA”).

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2. Plaintiffs, and those similarly situated, were subjected to the TWEC Defendants’
policy and practice of failing to pay overtime at a rate of one and one-half times their regular rate
for hours worked in excess of forty (40) hours during a workweek

3. Under the collective action brought under FLSA, the proposed Class consists of all
persons employed by the TWEC Defendants as Store Managers (SMs) or Sr. Assistant Managers
(SAMS) at any time three years prior to the filing of this action through the entry of judgment
who worked over 40 hours per week and were not paid overtime pay at a rate of one and one-half
times their regular rate for hours worked in excess of 40 hours during a workweek (hereinafrer
referred to as the proposed the “Nationwide Collective Class”).

4. Specifically, as to SMs, Plaintiff complains that the TWEC Defendants violated
FLSA by failing to pay Plaintiff and all other members of the proposed Nationwide Collective
Class overtime pay at a rate of one and one-half times their regular rate for hours worked in excess
of 40 hours during a workweek

5. Specifically, as to SAMs, Plaintiff complains that the TWEC Defendants violated
FLSA by using a fluctuating work week method (FWW) when calculating overtime wages
rightfully due Plaintiff and all other members of the proposed Nationwide Collective Class when
they worked as SAMS in the TWEC Defendants’ stores nationwide

6. To remedy her damages and the Nationwide Collective Class members she seeks
to represent under FLSA, Plaintiff brings this action as a nation-wide collective action pursuant to
29 U.S.C. § 216(b)

7. Specifically, under FLSA, Plaintiff seeks a declaration that her rights, and the rights

of the other Nationwide Collective Class members were violated, and an award of unpaid Wages,

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liquidated damages, interest, and reasonable attorneys’ fees and costs to make them whole for
damages suffered

8. Plaintiff also brings a class action claim under the NJWHL (hereafter referred as
the “NJ/PA Class”). The proposed NJ/PA Class consists of all persons employed by the TWEC
Defendants as SMS at any time two years prior to the filing of this action through the entry of
judgment in the TWEC Defendants’ stores located in New Jersey who worked over 40 hours per
week and were not paid overtime pay at a rate of one and one-half times their regular rate for hours
worked in excess of 40 hours during a workweek

9. Plaintiff complains that the TWEC Defendants violated the NJWHL by
misclassifying Plaintiff and all other members of the proposed NJ/PA Class who worked in New
Jersey as salaried exempt employees when they worked as SMs.

10. To remedy her damages and the damages of the NJ/PA Class who worked in New
Jersey, Plaintiff seeks a declaration that her rights, and the rights of other members were violated,
and an award of all available statutory damages including, but not limited to, unpaid wages,
interest, and reasonable attorneys’ fees and costs to make them whole for damages suffered

ll. As part of the NJ/PA class action, Plaintiff also brings claims under the PMWA.
The proposed NJ/PA Class also consists of all persons employed by the TWEC Defendants as
SAMs i n th e TWEC Defendants’ stores located in Pennsylvania at any time three years prior
to the filing of this action through the entry of judgment who worked over 40 hours per week
and were not paid overtime pay at a rate of one and one-half times their regular rate for hours

worked in excess of 40 hours during a workweek

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12. Specifically, as to SAMs, Plaintiff complains that the TWEC Defendants violated
the PMWA by unlawfully using a fluctuating work week method (FWW) when calculating
overtime wages rightfully due Plaintiff and all other members of the proposed NJ/PA Class when
they worked as SAMs in the TWEC Defendants’ Pennsylvania stores

]3. To remedy her damages and the damages of the NJ/PA Class members Who worked
in Pennsylvania, Plaintiff seeks a declaration that her rights, and the rights of other members were
violated, and an award of all available statutory damages including, but not limited to, unpaid
wages, liquidated damages, interest, and reasonable attorneys’ fees and costs to make them whole
for damages suffered

JURISDICTION AND VENUE

l4. This Court has subject-matter jurisdiction over Plaintiff s FLSA claim pursuant to
28 U.S.C. § 1331 because Plaintiff’s claim raises a federal question under 29 U.S.C. § 201, er seq.,
and has supplemental jurisdiction over the New Jersey (NJWHL) and Pennsylvania
(PMWA) wage and hour claims pursuant to 28 U.S.C. § 1367(a).

154 This Coult has jurisdiction over this FLSA Collective Action pursuant to 29 U.S.C,
§ 216(b)j which provides that suit under the FLSA “may be maintained against any employer . . .
in any F ederal or State court of competent jurisdiction.”

16. The annual sales of the TWEC Defendants exceed 3500,000 and it has more than
two employees, so the FLSA applies in this case on an enterprise basis Defendant’s employees
engage in interstate commerce, and therefore, they are also covered by the FLSA on an individual

basis.

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17. Venue is proper in this District pursuant to 28 U.S_C` § 1391 because the actions

and omissions giving rise to the claim pled in this Complaint substantially occurred in this District.
PARTIES

18. Plaintiff, Carol Spack, is an individual who resides in Somerset County, New Jersey_
Plaintiff worked for the TWEC Defendants as a SAM at stores it operated in Vineland, New Jersey
and Philadelphia, Pennsylvania from March/April 2012 until March 2015. Plaintiff also worked for
the TWEC Defendants as a SAM at stores it operated in Eatontown7 New Jersey, Toms River, New
Jersey and Woodbridge, New Jersey from March 2015 thru December 28, 2016 when she was
separated from employment Plaintiff has executed her consent to sue form as required under FLSA
which is attached hereto as Exhibil A.

19. Defendant Trans World Entertainment Corp. is a New York corporation with its
principal executive offices located at 38 Corporate Circle, Albany, New York 12203-5197.
Defendants Record Towns, lnc. and Record Town USA, LLC who are either subsidiaries and/or
affiliated with Trans World Entertainment Corp., were also incorporated in New York and likewise
maintain their corporate offices at 38 Corporate Circle, Albany, New York 12203-5197.

20. The following is believed to accurately describe the TWEC Defendants:

Trans World Entertainment Corp was founded in 1972 by Robert J. Higgins and
opened its first retail store in 1973 under the name Record Town, and grew its retail
business to 38 stores over a 10-year period In 1982, the Company sold its wholesale
business to focus on retail, expanding the number of retail outlets to more than
200. Trans World went public in July 1986 trading under the symbol “TWMC”r 1n
2001, Trans World united its mall-based portfolio and retail Web site under the
F.Y.E. (For Your Entertainment) brand name. In October 2016, the Company
acquired etailz, Inc., a leading digital marketplace expert retailer Trans World
Entertainment Corp reported total revenue of $l4741 million for Fourth Quarter
2016.

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21. At all times relevant herein, the TWEC Defendants was/were Plaintiff’s

“employers,” and Defendant was engaged in “interstate commerce” as defined in the FLSA.

GENERAL ALLEGATIONS

22. The TWEC Defendants employ several different types of workers, including but
not limited to Sr. Assistant Managers (SAMs), Store Managers (SMs), and other corporate
employees

231 The job duties of an SAM included (a) inventory related shipping and receiving;
(b) stocking merchandise for the day; (c) cashier, (d) clean and sweep the store, (3) price and sales
labeling, and (4) customer service and sales

24. The job duties of a SM are substantially similar to that of a SAM but also include:
(a) proposing shift schedules which required approval of the district manager and (b) interviewing
candidates; but before an applicant could be hired they needed to be interviewed and approved by
a district manager

25. Plaintiff’ s duties as a SAM and SM did not include: store budgeting, ordering
inventory, hiring permanent full time employees, firing, managing, or disciplining other
employees

26. Plaintiff did not exercise a meaningful degree of independent discretion with
respect to the exercise of her duties as a SAM or SM,

27. Plaintiff was not employed in an executive, administrative or professional capacity

by Defendants.

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28. Plaintiff was not an employee whose suggestions and recommendations as to the
hiring or firing and as to the advancement of or any other change of status of other employees
would be given any weight by Defendants

29. Plaintiff was not an employee whose primary duty consisted of the performance of
office or non-manual work directly related to management policies or general business operations
of the Defendants

30, Thus, Plaintiff was a non-exempt employee throughout the time period of her
employment who should have been paid overtime by the Defendants for hours worked in excess
of 40 hours per week

31. Consistent with the TWEC Defendants’ policy, pattern and/or practice, Plaintiff
regularly worked as a SAl\/l and SM in excess of 40 hours per workweek without being paid a
legally required overtime rate of 1.5 times her regular rate of compensation for the hours she
worked in excess of 40 per workweek

32. The TWEC Defendants knew that the improper payment of overtime pay would
financially injure Plaintiff and similarly situated employees and violate FLSA, and New Jersey
and Pennsylvania state wage and hour laws

NATI()NWIDE COLLECTIVE ACTION ALLEGATIONS

33. Plaintiff brings this collective action pursuant to the FLSA, 29 U.S.C. § 216(b) on
her own behalf and on behalf of a putative Class of similarly situated current and former SMs
employed by the TWEC Defendants, defined to include:

All persons employed in the United States by Trans World Entertainment
Corp., Record Town, Inc. and Record Towns USA, LLC. as a Store
Manager who are or were employed at any time in the last three years, who
worked over 40 hours per week and were not paid overtime for hours
worked over 40 in a workweek

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34. Plaintiff does not bring this action on behalf of any executive, administrative or
professional employee exempt from coverage under the FLSA.

35. With respect to the claims set forth in this action, a collective action under the FLSA
is appropriate because, under 29 U.S.C. § 216(b), the SAMs and SMs described are “similarly
situated” to Plaintiff The class of employees on behalf of whom Plaintiff brings this collective
action are similarly situated because: (a) they have been or are employed in the same or similar
positions; (b) they were or are subject to the same or similar unlawful practices, policy, or plan;
and (c) their claims are based upon the same legal theories

36. Plaintiff estimates that the collective Nationwide Collective Class, including both
current and former SMs over the relevant period, will include hundreds (and possibly thousands)
of members The precise number of collective Nationwide Collective Class members should be
readily available from a review of Defendants’ personnel, scheduling, time, and payroll records,
and from input received from the Nationwide Collective Class members as part of the notice and
“opt-in” process provided by 29 U.S.C. §216(b).

37. Plaintiff’s and other potential Nationwide Collective Class members’ entitlement
to overtime pay, except for amount, is identical and depends on one uniform factual question: Did
Defendants pay its SMs overtime compensation for hours Worked over forty (40) at a rate of 1.5
times their regular rate of compensation for hours worked in a workweek?

38. Similarly, the classification status of the Nationwide Collective Class and Plaintiff
involves an identical legal question: Were the TWEC Defendants’ SMs non-exempt employees

such that the TWEC Defendants owe them overtime compensation under the FLSA?

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39. Plaintiff shares the same interests as the Nationwide Collective Class in that the
outcome of this action will determine whether they are either exempt or non-exempt employees
under the FLSA. Because the facts in this case are similar, if not altogether identical, the factual
assessment and legal standards lend themselves to a collective action

NJ/PA CLASS ACTION ALLEGATIONS

40. Plaintiffs bring this claim as a class action pursuant to Rule 32 of the New Jersey
Rules of Court and Pennsylvania Rules of Court 1701-1717 of the on behalf of a class, consisting
of;

All persons who work or worked for the TWEC Defendants: (a) in
New Jersey as Store Managers at any time two years prior to the filing
of this action through the entry of judgment in this action who
worked over 40 hours per week and were not paid overtime pay at a rate
of one and one-half times their regular rate for hours worked in excess of
40 hours during a workweek, and/or (b) all persons who work or worked
as Sr. Assistant Managers in Pennsylvania at any time two years prior
to the filing of this action through the entry of judgment in this action
who worked over 40 hours per week and were not paid overtime pay at

a rate of one and one-half times their regular rate for hours worked in
excess of 40 hours during a workweek

41 . The persons in the NJ/PA Class are so numerous that joinder of all members is impracticable

The exact number of the NJ/PA Class members is unknown to Plaintiff at this time but there is believed

to be over a hundred such persons The identity of the NJ/PA Class members is known to the TWEC

Defendants and is contained in the employment records that the TWEC Defendants are required to create
and maintain as a matter of state and federal law.

42. Plaintiff’s claims are typical of the claims of the other members of the NJ/PA Class as

plaintiff and all other members of the NJ/PA Class sustained damages arising out of defendants' conduct

in violation of the New Jersey and Pennsylvania state laws complained of herein The NJ/PA Class

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members work, or have worked, for the TWEC Defendants in New Jersey or Pennsylvania as SAMs and
were improperly not paid overtime wages by the TWEC Defendants at a rate of one and one-half times
their regular rate for hours worked in excess of 40 hours during a workweek They have sustained similar
types of damages as a result of the TWEC Defendants’ failure to comply with the NJWHL and PMWA
and their respective supporting regulations

43. Plaintiff will fairly and adequately protect the interests of the members of the NJ/PA
Class and has retained counsel competent and experienced in complex class action litigation

44. Plaintiff has no interests that are contrary to or in conflict with those of the other members
of the NJ/PA Class

45. Plaintiff knows of no difficulty that will be encountered in the management of this
litigation that would preclude its maintenance as a class action.

46A Common questions of law and fact exist as to all members of the NJ/PA Class and
predominate over any questions affecting solely individual members Plaintiff’s and other potential
NJ/PA Class members’ entitlement to overtime pay, except for amount, is identical and depends on one
uniform factual question: Did Defendants pay its SAMs overtime compensation for hours worked over
forty (40) at a rate of 1.5 times their regular rate of compensation for hours worked in a workweek?

47. Defendants have acted or have refused to act on grounds generally applicable to the NJ/PA
Class, thereby making appropriate relief with respect to the NJ/PA Class as a whole
48. A class action is superior to other available methods for the fair and efficient adjudication of

this controversy Since damages suffered by individual NJ/PA Class members may be relatively small,
the expense and burden of individual litigation makes it virtually impossible for Plaintiffs and NJ/PA
Class members to individually seek redress for the wrongful conduct alleged Individual class members

lack the financial resources to conduct a thorough examination of Defendants' compensation practices

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to prosecute vigorously a lawsuit against the Defendants to recover such damages Class litigation is
superior because it will obviate the need for unduly duplicative litigation
COUNT ()NE

VIOLATION OF THE FAIR LABOR STANDARDS ACT, 29 U.S.C. § 201, et seq.
FAILURE TO PAY OVERTIME WAGES

1. Plaintiffs re-allege and incorporate paragraphs 1-48 as if set forth at length herein.

2. Pursuant to the FLSA, 29 U.S.C` § 201, et seq., Plaintiff and all putative Nationwide
Class members are entitled to overtime compensation at their regular rate for all hours worked

3. 29 U.S.C. § 207(a)(1) provides as follows: “Except as otherwise provided in this
section, no employer shall employ any of his employees who in any workweek is engaged in
commerce or in the production of goods for commerce or is employed in an enterprise engaged in
commerce or in the production of goods for commerce for a workweek longer than forty hours
unless such employee receives compensation for his employment in excess of the hours above
specified at a rate not less than one and one-half times the regular rate at which he is employed”

4. The TWEC Defendants misclassified the Plaintiff and all similarly situated
employees as exempt when in fact they were non-exempt Neither Plaintiff nor the putative
Nationwide Class members qualify for exemptions enumerated at 29 U.S.C. § 213(a). Thus, they
are not exempt

5, The TWEC Defendants’ unlawful conduct has been widespread, repeated, and
willful The TWEC Defendants knew or should have known that its policies and practices were

unlawful and unfair

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WHEREFORE, Plaintiff Carol Spack requests the following relief:

3.

Certifying this case as a collective action in accordance With 29 U.S.C. §
216(b) with respect to the FLSA claims set forth above

Declaring that the TWEC Defendants willfully violated its/their obligations
under the FLSA and its attendant regulations as set forth above;

Certifying this matter to proceed as a class action;

Granting judgment in favor of Plaintiffs and against the TWEC Defendants
and awarding the lost overtime compensation calculated at the rate of one
and one-half (1.5) of Plaintiffs’ regular rate multiplied by all hours that
Plaintiffs worked in excess of forty (40) hours per week for the past three
years;

Awarding liquidated damages to Plaintiffs in an amount equal to the amount
of unpaid overtime found owing to them;

Awarding reasonable attorney fees and costs incurred by Plaintiffs in filing
this action;

Awarding pre- and post-judgment interest to Plaintiffs on these damages;
and

Such further relief as this court deems appropriate

COUNT TWO

VIOLATION OF VIOLATION ()F THE NEW JERSEY WAGE AND HOUR LAW

FAILURE T() PAY OVERTIME WAGES

1. Plaintiffs re-allege and incorporate paragraphs 1-48 as if set forth at length herein

2. Pursuant to the NJWHL, N.J_S.A., 34:11-56.1, et seq., Plaintiffs and all putative

Class members are entitled to overtime wages overtime paid at a rate of one and one-half times

their regular rate for hours worked in excess of 40 hours during a workweek

3. N.J.S.A., 34:11-56a4 provides in relevant part: “Every employer shall pay to each

of his employees’ wages at a rate of not less than ...for 40 hours of working time in any week and

1 1/2 times such employee's regular hourly wage for each hour of working time in excess of 40

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hours in any week, except this overtime rate shall not include any individual employed in a bona
fide executive administrative or professional capacity. . .” (emphasis added).

4. The TWEC Defendants misclassified the Plaintiffs and all similarly situated
employees as exempt when in fact they were non-exempt. Neither Plaintiffs nor the putative Class
members qualify for exemptions under NJWHL. Thus, they are not exempt

6. By misclassifying the Plaintiffs and similarly situated employees as exempt from
overtime the TWEC Defendants failed to pay Plaintiffs and the putative Class members for hours
worked over forty (40) hours in a week for that respective period

7. The TWEC Defendants’ unlawful conduct has been widespread, repeated, and
willliil. Defendant knew or should have known that its policies and practices were unlawfiil and
unfair

8. As a result of Defendants’ violations of the NJWHL, Plaintiffs and others
similarly situated have suffered damages by being denied pay for all of their hours worked,
by being denied overtime wages in accordance with the NJWHL in amounts to be
determined at trial, and are entitled to recovery of such amounts, prejudgment and post
judgment interest, reasonable attorneys' fees and costs pursuant to the NJWHL`

REQUEST FOR RELIEF
WHEREFORE, Plaintiffs hereby demand judgment be entered against the TWEC

Defendants as follows:

a. Certifying this case as a class action in accordance with New Jersey Rule of
Court I_{. 4:23-1 (Rule 23) with respect to the NJWHL claims set forth
above

b. Declaring that the TWEC Defendants violated its obligations under the

NJWHL and its attendant regulations;

c. Certifying this matter to proceed as a class action;

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d Granting judgment in favor of Plaintiffs and against the TWEC Defendants
and awarding the lost overtime compensation calculated at the rate of one
and one-half (1.5) of Plaintiffs’ regular rate multiplied by all hours that
Plaintiffs worked in excess of forty (40) hours per week for the past three
years;

e. Judgment for Plaintiffs and the NJ /P A class members for all
statutory, compensatory, liquidated and consequential damages, or any
other damages authorized by law or equity, sustained because of
defendants' unlawful conduct, as well as prejudgment and post-judgment
interest;

f. An award to Plaintiffs and the NJ/PA for their reasonable attorneys’
fees, costs, including expert fees, and expenses as authorized by law;

g_ Awarding reasonable attorney fees and costs incurred by Plaintiffs in filing
this action;

h. Such lilrther relief as this court deems appropriate

COUNT THREE
VIOLATION OF THE PENNSYLVANIA MINIMUM WAGE ACT
FAILURE T() PAY ()VERTIME WAGES

1. Plaintiffs re-allege and incorporate paragraphs 1-48 as if set forth at length herein

2. Pursuant to the PMWA, 35 P.S. § 333.101 et seq., Plaintiffs and all putative Class
members are entitled to overtime wages overtime paid at a rate of one and one-half times their
regular rate for hours worked in excess of 40 hours during a workweek

3. 34 Pa. Code § 231.43 provides in relevant part: .. each employee shall be paid for
overtime not less than 1-1/2 times the employee’s regular rate of pay for all hours in excess of 40
hours in a workweek.”

4. Plaintiff complains that the TWEC Defendants violated the PMWA by unlawfully
using a fluctuating work week method (FWW) when calculating overtime wages rightfully due

Plaintiff and all other members of the proposed PA Class when they worked as SAMs in the TWEC

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Defendants’ Pennsylvania stores

9. By misclassifying the Plaintiffs and similarly situated employees as exempt from
overtime the TWEC Defendants failed to pay Plaintiffs and the putative Class members for hours
worked over forty (40) hours in a week for that respective period

10. The TWEC Defendants’ unlawiiil conduct has been widespread repeated, and
willful Defendant knew or should have known that its policies and practices were unlawfiil and
unfair

ll. Because of Defendants’ violations of the NJWHL, Plaintiffs and others
similarly situated have suffered damages by being denied pay for all of their hours worked,
by being denied overtime wages in accordance with the NJWHL in amounts to be
determined at trial, and are entitled to recovery of such amounts, prejudgment and post
judgment interest, reasonable attorneys' fees and costs pursuant to the NJWHL.

REOUEST FOR RELIEF

WHEREFORE, Plaintiffs hereby demand judgment be entered against the TWEC

Defendants as follows:

a. Certifying this case as a class action in accordance with Pennsylvania Rules
of Court 1701-1717 with respect to the PMWA claims set forth above

b. Declaring that the TWEC Defendants violated its obligations under the
PMWA and its attendant regulations;

c. Certifying this matter to proceed as a class action;

d Granting judgment in favor of Plaintiffs and against the TWEC Defendants
and awarding the lost overtime compensation calculated at the rate of one
and one-half (1.5) of Plaintiffs’ regular rate multiplied by all hours that
Plaintiffs worked in excess of forty (40) hours per week for the past three
years;

e. Judgment for Plaintiffs and the NJ/PA class members for all
statutory, compensatory, liquidated and consequential damages, or any

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other damages authorized by law or equity, sustained because of
defendants’ unlawful conduct, as well as prejudgment and post-judgment
interest;
i. An award to Plaintiffs and the NJ/PA for their reasonable attorneys'
fees, costs, including expert fees, and expenses as authorized by law;
j. Awarding reasonable attorney fees and costs incurred by Plaintiffs in filing

this action;

k. Such further relief as this court deems appropriate

JURY DEMAND

Plaintiff hereby demands a trial by jury on all issues triable in this action

Respectfully Submitted,

  

Date; April 20, 2017

 

 

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EXHIB|T A

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Case 1

 

 

